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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                             CASE No. 1:20-CV-11889-MLW

Dr. SHIVA AYYADURAI                     )
            Plaintiff,                  )
                                        )
                 v.                     )
                                        )
WILLIAM FRANCIS GALVIN,                 )
MICHELLE K. TASSINARI,                  )
DEBRA O’MALLEY,                         )            JURY DEMANDED
AMY COHEN,                              )
NATIONAL ASSOCIATION OF )
STATE ELECTION DIRECTORS, )
all in their individual capacities, and )
WILLIAM FRANCIS GALVIN,                 )
in his official capacity as Secretary )
of State for Massachusetts,             )
                 Defendants,            )
and                                     )
TWITTER INC., proposed defendant )



                                        STATUS REPORT

Honorable Mark Wolf
United States District Court for the District of Massachusetts
One Courthouse Way
Boston, MA 02210

Re: Howard Cooper, Esq.

Your Honor,

As instructed, I write to inform the Court regarding my retention of counsel. On Monday, May
24, 2021, I met with Howard Cooper from Todd & Weld LLP. After discussion, I have engaged
Attorney Cooper and his firm to represent me. I have also engaged Attorney Charles Harder and
his law firm, Harder LLP. I expect that each of these attorneys will file their appearances or
move to be admitted pro hac vice in short order.

We have agreed that, subject to the Court’s approval, I will retain the ability to speak on my own
behalf in court if I elect to do so, but that they will be present, at a minimum, for all court



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hearings even if I am the person taking the lead in speaking. Their names will also be on all
pleadings so as to satisfy the ethical rules.

As I need a brief period of time to formalize the engagement of these lawyers, I respectfully
request the Court to adopt the following interim schedule:

        1. Counsel will file their Notices of Appearance or motion(s) to be admitted pro hac vice
no later than June 4, 2021.

        2. By the same date, I plan to submit a proposed schedule for targeted discovery in the
form of limited documents requests and depositions on the issues the Court has identified as
inextricably intertwined with the pending motions to amend and to dismiss related to state
action, qualified immunity and the forum selection clause. My counsel will, of course, meet and
confer with defendants’ counsel in the hope we can agree on the needed discovery and a
schedule for it.

        3. I ask that the Court thereafter hold a Status Conference during the week of June 14,
2021 to adopt a more formal schedule including for further briefing after the completion of the
targeted discovery allowed by the Court. Mr. Cooper has informed me that he is busy with
another trial beginning June 1st in state court but will be available for a conference the week of
June 14th.

I thank the Court for allowing me the chance to retain counsel in this matter.

                                                      Yours sincerely,
                                                      /s/ Dr. Shiva Ayyadurai
                                                      _____________________
                                                      Dr. Shiva Ayyadurai
               Date: May 25, 2021                     Plaintiff, pro se
                                                      701 Concord Ave,
                                                      Cambridge, MA 02138
                                                      Phone: 617-631-6874
                                                      Email: vashiva@vashiva.com




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                                   CERTIFICATE OF SERVICE
      Plaintiff certifies that he served this status report upon Defendants via their counsel via
ECF and upon Twitter by email.

                                                     Respectfully submitted,
                                                     /s/ Dr. Shiva Ayyadurai
                                                     _____________________
               Date: May 25, 2021                    Dr. Shiva Ayyadurai
                                                     Plaintiff, pro se
                                                     701 Concord Ave.
                                                     Cambridge, MA 02138
                                                     Phone: 617-631-6874
                                                     Email: vashiva@vashiva.com




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